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  The following constitutes the ruling of the court and has the force and effect therein described.



  Signed October 13, 2017
                                            United States Bankruptcy Judge
 ______________________________________________________________________




                                       IN THE UNITED STATES BANKRUPTCY COURT
                                         FOR THE NORTHERN DISTRICT OF TEXAS
                                                 FORT WORTH DIVISION

                                                                  §
IN RE:                                                            §                     CASE NUMBER: 16-41520-RFN
CARLOS MARTINEZ DUNCKER                                           §
                                                                  §                     CHAPTER 13
                                                                  §
                                                                  §                     JUDGE RUSSELL F NELMS


                                             ORDER APPROVING MODIFIED PLAN


AT FORT WORTH IN SAID DISTRICT:

On this day came on for consideration the "Modification of Plan After Confirmation" filed September 06 , 2017. The Court finds that
notice was and is appropriate under the circumstances, and that the Modification should be approved subject to the following conditons,
if any:

IT IS THEREFORE ORDERED that the Modified Plan filed September 06 , 2017, be and the same is hereby approved, subject to the
following conditions, if any:

THE PLAN BASE SHALL BE CHANGED TO $10,070.00.
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All other proposed plan modification changes remain the same .

IT IS FURTHER ORDERED that upon surrender of any secured collateral through this Modification, the automatic stay is terminated as
to the secured creditor as of the surrender date, to permit said creditor to conduct a non-judicial foreclosure sale .

IT IS FURTHER ORDERED that 30 days written notice to the debtor, debtor's counsel, the Chapter 13 Trustee, and all creditors
adversely affected by such modification and opportunity for hearing, is appropriate under the circumstances .

                                                      # # # End of Order # # #
